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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


CINDY GAMRAT,

                Plaintiff,                               Case No. 1:16−cv−01094−GJQ−PJG

      vs.                                                Hon. Gordon J. Quist

EDWARD MCBROOM, et al.,

          Defendants.
______________________________________ /


                                     JOINT STATUS REPORT


            NOW COME the parties herein and submit the Joint Status Report as follows:1


      A Rule 16 Scheduling Conference is scheduled for May 10, 2018, 11:00 am, before
Hon. Gordon J. Quist. Appearing for the parties as counsel will be:

            Frederick J. Boncher in the place of Tyler E. Osburn, Schenk Boncher & Rypma, on
            behalf of Plaintiff Cindy Gamrat

            Brian E. Weiss, Vlachos & Vlachos, P.C., on behalf of Defendant Joseph Gamrat

            It is assumed that David Horr will appear in pro per




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  Pursuant to the court’s order, Plaintiff attempted to confer with all Defendants prior to the
filing of this report. Plaintiff and Defendants Gamrat and Horr held a telephone conference
regarding this joint report on May 4, 2018. However, Plaintiff made several prior attempts to
contact Defendant Cline through his attorney via telephone and email, but Defendant Cline’s
counsel never responded prior to the telephone conference or prior to the deadline for filing
this report. (See Emails and Notes, attached as Exhibit 1.) After reviewing the joint status
report, Defendant Horr contacted the undersigned and indicated that he would not be able to
make it to the conference; he would attempt to have the conference rescheduled; and he could
not at this time authorize the undersigned to sign his name to this report. (Emails, attached as
Exhibit 2.) Therefore, this joint status report is being filed under the signatures of Plaintiff
and Defendant Gamrat only.
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      It is assumed that Brian Dailey, Dailey Law Firm, P.C., will appear on behalf of
      Defendant Joshua Cline


 1.   Jurisdiction: The basis for the Court's jurisdiction is:
      This Court has jurisdiction over these claims pursuant to 28 U.S.C. § 1331; 28 U.S.C.
      §1343; and 28 U.S.C. § 1367.
 2.   Jury or Non−Jury: This case is to be tried before a jury.
 3.  Judicial Availability:         The parties agree to have a United States
 Magistrate Judge conduct any and all further proceedings in the case, including trial,
 and to order the entry of final judgment.
 4.   Statement of the Case: This case involves a lawsuit brought by Plaintiff
 alleging several causes of action against Defendants Keith Allard, Benjamin
 Graham, Joshua Cline, Joseph Gamrat, David Horr, Michigan House of
 Representatives, Kevin G. Cotter, Tim L. Bowlin, Brock Swartzle, Norm Saari,
 Edward McBroom, Hassan Beydoun, and Vincent Krell. Defendant Krell was
 voluntarily dismissed from the lawsuit. Defendants Allard, Graham, Michigan
 House of Representatives, Kevin G. Cotter, Tim L. Bowlin, Brock Swartzle, Norm
 Saari, Edward McBroom, and Hassan Beydoun all filed motions to dismiss
 Plaintiff’s amended complaint.
  After a hearing on the matter, the court granted Defendants’ respective motions to
 dismiss and dismissed all claims against the moving Defendants. The court’s order in
 that regard allowed Plaintiff’s claims against Defendants Gamrat and Horr to proceed.
 Plaintiff filed a motion for reconsideration, which was denied by the court. Plaintiff
 then filed an application for entry of default against Defendant Cline as ordered by the
 court, but the application was denied as moot after Defendant Cline filed an answer
 and affirmative defenses before the Court granted Plaintiff’s application.
 At this time, the remaining claims asserted against Defendants Gamrat, Cline, and
 Horr are for a violation of 18 U.S.C. § 2511 and Michigan’s Eavesdropping Statutes;
 civil stalking; and civil conspiracy.
 5.   Prospects of Settlement: The status of settlement negotiations is:
      Plaintiff has had several settlement communications with Defendant Joseph
      Gamrat, and it is possible that a settlement may be reached that would lead to the
      dismissal of this action against Defendant Gamrat. There have been no settlement
      negotiations to date between Plaintiff and Defendants Cline or Horr. It is
      anticipated that settlement negotiations will remain ongoing and appear likely to be
      fruitful.
 6.  Pendent State Claims: This case does include pendent state claims against
 Defendants for a violation of Michigan’s Eavesdropping Statutes; civil stalking; and civil
 conspiracy.
 7.  Joinder of Parties and Amendment of Pleadings: The parties expect to file all
 motions for joinder of parties to this action and to file all motions to amend the
 pleadings by June 15, 2018.
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 8.    Disclosures and Exchanges:
         (a) FED. R. CIV. P. 26(a)(1) requires initial disclosures unless the Court
         orders otherwise. The parties propose the following schedule for Rule 26(a)(1)
         disclosures:
                The parties shall make their initial disclosures under Rule 26(a)(1) on or
                before June 15, 2018.
         (b) The Plaintiff expects to be able to furnish the names of Plaintiff's expert
         witness(es) by June 30, 2018. Defendant expects to be able to furnish the
         names of defendant's expert witness(es) by July 31, 2018.
         (c) It would be advisable in this case to exchange written expert witness
         reports as contemplated by FED. R. CIV. P. 26(a)(2). Reports, if required,
         should be exchanged according to the following schedule: August 31, 2018.
         (d) The parties are unable to agree on voluntary production at this time.
 9.  Discovery: The parties believe that all discovery proceedings can be completed
 by November 9, 2018. The parties recommend the following discovery plan:
         Discovery should be conducted in one phase. The limits on discovery set forth
         in the Rules of Civil Procedure should not be modified in this case. It is
         anticipated at this time that written discovery requests and depositions related to
         the elements of the remaining claims against the remaining Defendants should
         suffice.
 10.  Disclosure or Discovery of Electronically Stored Information: The parties have
 discussed the production of electronically stored information and suggest that such
 information be handled as follows:
         It is unknown at this time whether any Defendant has any electronically-stored
         information. If it is determined that such information exists, then the
         information can be disclosed via flash drives or file sharing.
 11.   Assertion of Claims of Privilege or Work−Product Immunity After Production:
         The parties do not believe that any assertion of privileged or work product
         immunity will be made by either side.
 12.  Motions: The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the
 moving party to ascertain whether the motion will be opposed, and in the case of all
 nondispositive motions, counsel or pro se parties involved in the dispute shall confer in
 a good−faith effort to resolve the dispute. In addition, all nondispositive motions shall
 be accompanied by a separately filed certificate.

 The following dispositive motions are contemplated by each party:

         Defendant Joseph Gamrat anticipates filing a Motion to Dismiss pursuant to Fed.
         R.Civ. P. 12(b)(6), and/or a Motion for Summary Judgment after the close of
         discovery.
 13.  Alternative Dispute Resolution:     In the interest of conserving judicial
 resources, the parties acknowledge that the Court will require the parties to participate
 in some form of Alternative Dispute Resolution.
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       The parties recommend that this case be submitted to the following method(s) of
       alternative dispute resolution:
                   The parties agree to the submission of this case to voluntary facilitative
                   mediation under W.D. Mich. L. Civ. R. 16.3. This mediation should take place
                   toward the end of the discovery period in order to be effective.
       14.  Length of Trial: Counsel estimate the trial will last approximately 3 days total,
       allocated as follows: __2___ days for plaintiff's case, __1___ day for defendants’ case,
       __0___ days for other parties.
       15.   Electronic Document Filing System: Counsel are reminded that Local Civil Rule
       5.7(a) requires attorneys to file and serve all documents electronically, by means of the
       Court's CM/ECF system, unless the attorney has been specifically exempted by the
       Court for cause or a particular document is not eligible for electronic filing under the
       rule. The Court expects all counsel to abide by the requirements of this rule. Pro se
       parties (litigants representing themselves without the assistance of a lawyer) must
       submit their documents to the Clerk on paper, in a form complying with the
       requirements of the local rules. Counsel opposing a pro se party must file documents
       electronically but serve pro se parties with paper documents in the traditional manner.
       16.       Other: None.

                                                                     SCHENK BONCHER & RYPMA

Date: May 7, 2018                                              By:   /s/ Tyler E. Osburn
                                                                     Tyler E. Osburn (P77829)
                                                                     Attorneys for Plaintiff


                                                                     VLACHOS & VLACHOS, P.C.

Date: May 7, 2018                                              By:   /s/ Brian E. Weiss w/ permission by TEO
                                                                     Brian E. Weiss (P51502)
                                                                     Attorneys for Defendant Joseph Gamrat

                                                                     DAILEY LAW FIRM, P.C.

Date: May 7, 2018                                              By:   ___________________
                                                                     Brian Dailey (P39945)
                                                                     Attorneys for Defendant Joshua Cline



Date: May 7, 2018                                              By:   ____________________
                                                                     David Horr, in pro per



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